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                    SLIMMER J. W~.'NN(240005) swynn cooley.com)
                    MARY KATHRYN KELLEY (~ 70259 (mkkelley@cooley.com)
                    MEGAN L. DONOHUE (266147)(m onohue@cooley.com)
                    LINH K. NGUYEN(305737)(lknguyen@cooley.com)
                    COOLEY LLP
                    4401 Eastgate Mall
                    San Diego, CA 92121
                    Telephone:(858)550-6000
                    Facsimile:(858)550-6420
                    Attorneys for Amici Curiae


                                           UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF CALIFORNIA
           10
                    Ms. L.,                                  Case No. 3:18-cv-00428-DMS-
                                                             MDD
           12                  Petitioner-Plaintiff,
                                                             DECLARATION OF LINH NGUYEN IN
           13             v.                                 SUPPORT OF MOTION FOR LEAVE
                                                             TO FILE BRIEF BY AMICICURIAE IN
           14       U.S. Immigration and Customs             SUPPORT OF PLAINTIFF'S HABEAS
                    Enforcement(~"ICE")• U.S. De artment     CORPUS PETITION COMPLAINT
           15       ofHomeland Security~ ("DHS"~; U.S.       FOR DECLARATORY AND
                    Customs and Border Protection            INJUNCTIVE RELIEF
           16       "CBP"); U.S. Citizensh~ip and
                     mmigration Services("USCIS"); U.S.      Date:    May 4, 2018
           17       Department of Health and Human           Time:    1:30 p.m.
                    Services("HHS"); Office of Refugee       Dept.:   13A
           18       Resettlement("ORR"); Thomas              Judge:   Hon. Dana M. Sabraw
                    Homan, Acting Director ofICE; Greg
           19       Archambeault, San Die$o Field Office
                    Director, ICE; Joseph Ureene, San
           20       Diego Assistant Field Office Director,
                    ICE, Otay Detention Facility; Kirstjen
           21       Nielsen, Secretary ofIJHS; Jefferson
                    B,eauregand Sessions III, Attorney.
           22       General ofthe United States; Kevin K.
                    McAleenan, Acting Commissioner of
           23       CBP; L. Francis Cessna, Director of
                    USCIS; Pete Flores San Diego Field
           24       Director, CBP; Fre~ Figueroa, Warden,
                    Otay Mesa Detention Center; Alex
          ?5        Azar, Secretary of the Department of
                    Health and Human Services; Scott
           26       Lloyd, Director ofthe Office of
                    Refugee Resettlement„
           ~~
                               Respondents-Defendants.
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  ~oo,.~,~ r.~.r                                                       DECLARATION OF LINH K.NGUYEN ISO MIN.
A rTOKKSY9 AT LAW
                                                                        FOR LEAVE TO FILE BRIEF AS AM/CI CURIAE
   Snw D~sao
                                                                           CASE NO.3:18-CV-00428-DMS-MDD
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             1                                 DECLARATION OF LINH NGUYEN

                           I,Linh Nguyen, declare:
            3              1.    I am licensed to practice in the State of California and am a member ofthe
            4        Bar of this Court. I am an associate with the law firm of Cooley LLP, attorneys of
            5        record for amici curiae in the above-captioned matter. I have personal knowledge of
            6        the matters set forth herein, and if called upon to do so, could and would testify
            7        competently thereto.
            8              2.     Attached as Exhibit A is a true and correct copy of Brief by Amici Curiae
            9        in Support of Plaintiff's Habeas Corpus Petition and Complaint for Declaratory and
           10        Injunctive Relief.
           11              3.     Attached as E~ibit B is a true and correct copy of page 13 of the Kids in
           12        Need of Defense, Targeting Families: How ICE Enforcement Against Parents and
           13        Family Members Endangers Children.
           14              4.     Attached as E~ibit C is a true and correct copy of Am. Academy of
           15        Pediatrics, AAP Statement Opposing Continued Federal Efforts to Tear Apart
           16        Immigrant Families(June 30,2017).
           17              5.     Attached as Exhibit D is a true and correct copy of Linton JM, Griffin M,
           18        Shapiro AJ, AAP Council on Community Pediatrics, Detention ofImmigrant Children.
           19        Pediatrics (Apri12017).
          20               6.     Attached as Exhibit E is a true and correct copy of Am. Academy of
          21         Pediatrics, AAP Statement Opposing Separation ofMothers and Children at the Border
          22 (March 4, 2017).
          23               6.     Attached as Exhibit F is a true and correct copy of page 2 of Department '
          24         of Homeland Security: Immigration and Customs Enforcement, Report of the ICE
          25         Advisory Committee on Family Residential Centers (Sept. 20, 2016).
          26               7.     Attached as Exhibit G is a true and correct copy of Dube SR, Cook ML,
          27         Edwards VJ, Health-related Outcomes ofAdverse Child-hood Experiences in Texas,
          ~g         2002, Preventing Chronic Disease., vol. 7 no. 3(May 2010).
  ~oo~v c.r~                                                                 DECLARATION OF LINH K.NGUYEN 1S0 MTN.
A 7TOKnrSY4 AT LAW
                                                              I.              FOR LEAVE TO FILE BRIEF AS AMICI CUR/AE
   San D~eoo
                                                                                  CnsE No.3:18-CV-00428-DMS-MDD
            Case 3:18-cv-00428-DMS-AHG Document 17-2 Filed 03/02/18 PageID.179 Page 3 of 3



             1             8.      Attached as Exhibit H is a true and correct copy ofpage 2 ofAm.Academy
            2        of Pediatrics, Adverse Childhood Experiences and the Lifelong Consequences of
             3       Trauma"(2014).
             4             9.      Attached as E~ibit I is a true end correct copy of Urgent Appealfrom
             5       Experts in Child Welfare, Juvenile Justice and Child Development to Halt Any Plans to
            6        Separate Childrenfrom Parents at the Border (Jan. 23, 2018).
             7              10.    Attached as E~iibit J is a true and correct copy of Letter from Lucille
             8       Roybal-Allard, et.al to Sec. Kirstjen M. Nielsen (Feb. 8, 2018).
            9               1 1.   Attached as Exhibit K is a true and correct copy of Letterfrom Caryl M.
           l0        Stern, et. al. to Sec. Kirstjen M. Nielsen (Feb. 2, 2018).
           11               12.    Attached as Exhibit L is a true and correct copy of page 28 of Child
           1 ?'      Welfare League of America, National Blueprint for Excellence in Child Welfare,
           13        Standards ofExcellence (2013).
           14               13.    Attached as Exhibit M is a true and correct copy of Council on
           15        Accreditation, PA-CFS 10: Servicesfor Pa~^ents(Feb. 22, 2018).
           16
           17              I declare under penalty of perjury under the laws of the State of California that
           18        the foregoing is true and correct. Executed on March 2, 2018 in San Diego, California.
           19
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   Coo[.eY[.I.P                                                                   DECLARATION OF LINH K. NGUYEN ISO MTN.
n TroeKsrs ~r i.nw                                                                 FOR LEAVE TO FILE BRIEF AS AM/C/ CUR/AE
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    SAN DI6Q0
                                                                                       CnsE No.3:18-CV-00428-DMS-MDD
